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                              th
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EDUCATION

UNIVERSITY OF HOUSTON LAW CENTER, HOUSTON, TX
LL.M in Health Law, Spring 2009

Research:
    Directed Research Projects: Fall 2008, Baylor College of Medicine Center for
      Medical Ethics: Spring 2009, Professor Barbara Evans.

Honors:
   Winner of the 7th Annual Robert S. Toth LL.M Writing Competition. Amendment
      7: Medical Tradition v. The Will of the People, Has Florida’s Peer Review
      Privilege Vanished?

ST. THOMAS UNIVERSITY SCHOOL OF LAW, MIAMI, FL
Juris Doctorate, May 1996, with Honors

Honors:
   Top 10%; Dean’s List: Fall Semesters 1993, 1994, 1995.
   Academic Jurisprudence Awards: Legal Research and Writing, Fall Semester
      1993, Law and Medicine, Fall Semester 1995.
   Academic Scholarships: 1994, 1995, 1996.
   Moot Court: Executive Board Secretary 1995 – 1996; Participant in the J.
      Braxton Craven Jr. Memorial Moot Court Competition 1995; Member since 1994.
   Public Interest Fellowship: Legal Services of Greater Miami, Spring Semester
      1996. Legal Intern, Responsibilities included interviewing clients, legal research,
      and drafting client letters, memoranda, motions, and briefs.

Activities:
    Florida Association of Women Lawyers: St. Thomas Chapter President 1995 -
       1996, Organized the Second Annual Domestic Violence Forum 1995.
    Phi Delta Phi: Member 1994 1996.
    North Dade Bar Association: Member 1995 – 1996.


Experience:
    Research Assistant to Professor Siegfried Weissner, Fall Semester 1994,
      Organized the Indian Law Symposium, “Back to the Future: Tribal Sovereignty.”
    Judicial Intern to Honorable Judge Raphael Steinhardt, Eleventh Judicial Circuit,
      Miami, FL, Summer 1994; Worked closely with Judge Steinhardt in formulating
      opinions, observing landlord/tenant mediation, attending pretrial conferences,
      hearings and trials.
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      Research Assistant to Professor John Hernandez, Fall Semester 1995.

LOYOLA UNIVERSITY SCHOOL OF LAW, ROME, ITALY
Study Abroad Program, June – July 1995.

FLORIDA STATE UNIVERSITY, TALLAHASSEE, FL
Bachelor of Science, English Education, May 1991

Activities:
    Sigma Alpha Epsilon: Little Sisters of Minerva, Vice President 1990.

PUBLICATIONS

Amendment 7: Medical Tradition v. The Will of the People, Has Florida’s Peer Review
Privilege Vanished?, Journal of Law & Medicine, Winter 2008.

Florida’s Vanishing Peer Review Privilege Amendment 7: A Patient’s Right to Know
About Adverse Medical Incidents, MedStaff News, Vol. 7, Issue 2, May 2008.

A Little Too Late: The Public Health Response to the World Trade Center Attack, Health
Law Perspectives, November 8, 2007,
http://www.law.uh.edu/healthlaw/perspectives/2007/(LY)%20911%20screening.pdf

Blondes Have More Fun . . . How Far Can We Go?, Health Law Perspectives, March 19,
2007, http://www.law.uh.edu/healthlaw/perspectives/homepage.asp.

LEGAL EXPERIENCE

FLEMING & ASSOCIATES L.L.P., HOUSTON, TX
August 1998 - Present

      Managing Attorney of 8500 Multi District Litigation Cases:

   Manage large team of associates, contract attorneys, paralegals, and litigation support
   assistants which scheduled and attended over 10,000 depositions while preparing a
   producing over 12,000 Fact Sheets and handling the day-to-day practice; Design
   protocols and case strategies; Develop and implement cost effective methodologies;
   Formulate and initiate management decisions; Participate in Multi-District Litigation
   status conferences; Draft and argue global MDL motions; Manage individual
   caseload of 1900 cases, Draft and argue case-specific motions; Handle all aspects of
   discovery (written and oral); Design case management database; Hire and train
   contract attorneys and staff; Interview and hire expert witnesses; Trial preparation;
   Design, implement, and manage settlement process.

      Associate:

   Key participant in 10 jury selections in one year: Draft voir dire outlines, jury
   questionnaires and PowerPoint presentations; Draft motions to disqualify venire
   persons and bench briefs; Argue motions to strike jurors for cause.
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   Mass tort litigation work includes all phases of management and trial preparation of
   Fen-Phen diet drug litigation, including: Case evaluation; Legal research; Draft
   pleadings and motions; Attend hearings; Prepare cases for trial; Discovery (written
   and oral); Preparation of deposition designations from video and written transcripts;
   Create case-specific demonstratives; Create case-specific cross examination outlines;
   Interview witnesses; Create case-specific time lines; Document Review.


   Additional substantive litigation experience includes product liability cases
   specifically related to the lead paint industry, nursing home, medical malpractice, and
   breach of contract. Work in this area included: Develop and implement protocols
   and procedures for massive document review/collection; Hire and manage contract
   staff to assist in large document review; Discovery (written and oral); Legal
   Research; Draft pleadings and motions; Case strategy; Prepared for and attended
   mediation; Develop firm wide document review/production manual.

      Contract Attorney: January 1999 – March 2000.

      Litigation Support Staff: August 1998 – December 1998.

NON-LEGAL WORK EXPERIENCE

BROGDEN MIDDLE SCHOOL, DURHAM, NC
Teacher, August 1996 – June 1998, Site Based Management Team Member 1997 – 1998.

      Team Leader:

   Developed the S.T.E.P. Program (Students and Teachers Encouraging Progress) for
   at-risk students; Taught Language Arts, Science, and Social Studies; Presented
   “Strategies for Improving Test Scores for P1 and P2 Students” at the State
   Department of Public Instruction and at the SACS Conference.

SCOTT RAKOW YOUTH CENTER, MIAMI BEACH, FL
Pool Lifeguard/Swim Instructor, June 1993 – August 1996.

WESTVIEW MIDDLE SCHOOL, MIAMI, FL
Teacher, February – June 1993.

COMMUNITY INVOLVEMENT

Texas Children’s Hospital Bioethics Committee
Community Member – 2007 - 2009

College of the State Bar of Texas
Member – 2002, 2003, 2007 & 2008

American Health Layers Association
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Current Member

American Association for Justice
Current Member

Houston Bar Association
Current Member

American Bar Association
Current Member

Pearland Fit, Pearland, TX
Coach, July 2002 – January 2003

Houston Area Road Runners Association
Member & Volunteer, 2002 - 2004

Student Court, Brogden Middle School, Durham, NC
Volunteer Coordinator, January – June 1997.

Teen Court, Durham, NC
Volunteer, September 1996 – June 1997.

RECOGNITIONS

Top Young Professionals on the Fast Track, H Texas Magazine, 2005 and 2007.

Houston’s Top Lawyers, H Texas Magazine, 2008

Texas’ Top Young Attorneys, H Texas Magazine, 2008.

Texas Rising Star, Super Lawyers, 2008.

INTERESTS

Running, Photography, Cycling, Adventure Racing, and Rock Climbing
